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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )               MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant Joshua

Thorpe’s (hereinafter “defendant”) petition for reduction in

sentencing under Fair Sentencing Act H.B. 1789 in accordance with

Sec. 3582(c)(2) (Filing No. 226).         Under 18 U.S.C. § 3582(c)(2),

defendant seeks a reduction of his term of imprisonment as a

result of the November 1, 2010, Amendments to the United States

Sentencing Guidelines (“Sentencing Guidelines”).              Eighth Circuit

precedent forecloses defendant’s argument, and he is therefore

not entitled to the retroactive application of the November 1,

2010, Amendments to the Sentencing Guidelines.

           On November 1, 2010, amendments to the Sentencing

Guidelines became effective to apply to all offenders sentenced

after that date.    See 18 U.S.C. § 3553(a)(4)(ii) (sentencing

courts must consider the guidelines that “are in effect on the

date the defendant is sentenced”).         Defendant now urges this

Court to retroactively apply the amendments to his case for a

possible sentence reduction.        The Eighth Circuit has held,
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however, that these amendments to the Sentencing Guidelines are

not retroactive.    See United States v. Orr, No. 09-3644, 2011 WL

722405, at *12 (8th Cir. Mar. 3, 2011) (“Thus, as we have

previously recognized, Congress expressed no desire in the

[amendments to the sentencing guidelines] that [they] be applied

retroactively, and consequently the federal Savings Statute

clearly forecloses [defendant’s] argument for retroactive

application.”)

           Accordingly, defendant’s petition for reduction in

sentencing under Fair Sentencing Act H.B. 1789 in accordance with

Sec. 3582(c)(2) will be denied.        A separate order will be entered

in accordance with this memorandum opinion.

           DATED this 4th day of April, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
